          Case 1:17-cv-01324-WSD Document 1 Filed 04/13/17 Page 1 of 19



                      UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

THOMAS HILL, Individually and
On behalf of all others similarly situated,
                                                                  Case No:
        Plaintiff,

v.

FLEETCOR TECHNOLOGIES
OPERATING COMPANY, LLC,

     Defendant.
______________________________________/

                  COLLECTIVE ACTION COMPLAINT FOR
             VIOLATIONS OF THE FAIR LABOR STANDARDS ACT

        Plaintiff, THOMAS HILL, individually and on behalf of all others similarly

situated, brings this collective action for violations of the Fair Labor Standards Act

(“FLSA”) and states as follows:

                                    JURISDICTION AND VENUE

        1.      This Court has original jurisdiction to hear this Complaint and to

adjudicate the claims stated herein pursuant to 28 U.S.C. Section 1331 because

this action asserts claims arising under federal law, the FLSA, 29 U.S.C. Section

201, et seq.

        2.      Venue is proper in this District, pursuant to 28 U.S.C. Section 1391,

because the Defendant resides in this District with principal offices located in this
                                               Page 1 of 19

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          Case 1:17-cv-01324-WSD Document 1 Filed 04/13/17 Page 2 of 19



district, and because a substantial part of the events or omissions giving rise to

the claims occurred in this District.

                                              PARTIES

        3.      Plaintiff, THOMAS HILL (“Plaintiff” or “Hill”), is a resident of the

State of Georgia, resides in this District and is a current employee of Defendant.

        4.      Hill began his employment with Defendant in October 2014 and at all

material times has worked for Defendant in its Norcross, Georgia Office as an

inside sales representative selling fuel cards. Plaintiff is a current employee as of

the filing of this Complaint.

        5.      Defendant is a publicly traded foreign corporation with its principal

place of business located at 5445 Triangle Parkway, Suite 400, Norcross, Georgia,

30092.

        6.      Defendant is subject to the jurisdiction of the FLSA, engaged in

interstate commerce and earnings exceeding $500,000 in the prior three (3) years.

        7.      Plaintiff, and those similarly situated, are current and former

employees of Defendant within the meaning of the FLSA, and Defendant employed

them within three (3) years of the date this Complaint was filed.

        8.      Plaintiff did not previously opted into the prior collective actions

against the Defendant nor has he been paid for all the overtime hours he worked.

        9.      The Plaintiff has incurred unpaid overtime hours throughout his time
                                               Page 2 of 19

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          Case 1:17-cv-01324-WSD Document 1 Filed 04/13/17 Page 3 of 19



of employment with the Defendant.

        10.     The Plaintiff’s claims are similar to those Plaintiffs in the pending and

related case of Jones and Bridgeforth v. Fleetcor, Case No.: 1:16-cv-01092-TCB,

as to which Plaintiff did not file his consent or participate in.

                                 FACTUAL ALLEGATIONS

        11.     Defendant is a wholly owned subsidiary of a publicly traded company,

Fleetcor Technologies Inc. (symbol FLT) that has annual revenues that exceed

$500,000.00 per annum.

        12.     Defendant employs inside sales representatives, upwards of 350 or

more, working in multiple offices in Georgia selling gas or fuel cards to businesses.

        13.     Defendant provides fuel cards and workforce payment products to

businesses, commercial fleets, oil companies, petroleum marketers and government

entities throughout the United States.

        14.     At all times relevant to this Complaint, Plaintiff, and those similarly

situated, worked for Defendant as inside sales representatives from within

Defendant’s office in Norcross Georgia, and/or the Defendant’s Atlanta office.

        15.     Plaintiff, and those similarly situated worked as hourly, non-exempt

employees who also earned and were paid weekly commissions based upon gallons

charged to fuel cards.

        16.     Plaintiff’s commissions, and the same for all other inside sales
                                               Page 3 of 19

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          Case 1:17-cv-01324-WSD Document 1 Filed 04/13/17 Page 4 of 19



representatives, were a substantial component of the overall compensation each

earned.

        17.     Plaintiffs and those similarly situated worked over forty (40) hours

routinely and with Defendant’s knowledge and behest throughout their employment

with Defendant.

        18.     During the hiring process, Defendant, through its managers,

represented to Plaintiff and those similarly situated, that the job was a “forty (40)

hour per week position”.

        19.     Plaintiff, when hired, was lead to believe he was being paid as salaried

employee or otherwise was not entitled to overtime wages. Additionally, Plaintiff

was not clearly explained that in order to service his customers and reach the quotas

that he would routinely have to work over 40 hours in each work week.

        20.     In 2014, Keith Miller, another inside sales representative filed a

collective action making the same allegations here as Plaintiff: of working overtime

without compensation, and with the Defendant’s behest, knowledge and

encouragement.         Eventually, on some date uncertain, as to which Defendant

contends began in late 2015, Defendant for the first time instituted a time an actual

tracking system called “Dayforce” in half-hearted effort to comply with the FLSA.

        21.     In the beginning of Plaintiff’s employment, Defendant simply did not

have any formalized, structured or required system or procedure to track and record
                                               Page 4 of 19

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          Case 1:17-cv-01324-WSD Document 1 Filed 04/13/17 Page 5 of 19



the work hours of inside sales representatives, and, regardless, simply did not pay

overtime compensation to inside sales representatives in a common, unlawful pay

practice.

        22.     At some times Defendant feebly and without regard to the FLSA’s

mandatory time tracking requirements for hourly, Non-exempt employees,

Defendant used a paper, non-contemporaneous time sheet system of allegedly

documenting work hours of inside sales representatives. However, this procedure

and process was absolutely without accuracy, did not actually track or record the

work hours and minutes of the employees, and was at times filled out either one

time every week or every two weeks, and even filled in by managers.

        23.     Further, the time sheet system or process following with strict

instructions from management not to put down more than eight hours of work per

day, with an automatic one hour deduction for lunch whether taken or not, and no

more than forty (40) hours in a week.

        24.     Regardless of the process, procedure, system, prior to instituting the

Dayforce system, Defendant willfully violated the FLSA by not tracking and

recording the actual times Plaintiff and all the non-exempt inside sales

representatives commenced work, took breaks or left for the day.

        25.     Thus, Plaintiff, and all other inside sales representatives, routinely

worked over forty (40) hours without any pay or compensation, or any record of
                                               Page 5 of 19

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          Case 1:17-cv-01324-WSD Document 1 Filed 04/13/17 Page 6 of 19



their actual times, and the Defendant maintained a common unlawful pay practice

and policy of simply not paying overtime wages even when it absolutely knew the

inside sales representatives were routinely working over forty (40) hours in work

weeks.

        26.     Plaintiff, and the class of similarly situated employees, regularly and

routinely worked over forty (40) hours with Defendant’s knowledge and behest

throughout their employment with Defendant.

        27.     Defendant’s managers made statements such as “this is not an 8 to 5

job”, and “you need to do whatever it takes to meet your quotas”.

        28.     Shortly after his employment began, Plaintiff’s superiors began to

pressure, urge and encourage him and all other inside sales representatives to work

beyond the scheduled forty (40) hours, including coming in early, staying late and

working through lunches in order to meet goals and quotas and maximize sales.

        29.     More work hours, meant more opportunity to make sales and provide

customer service. Moreover and more importantly to Defendant, they could push

employees to work fifty (50) to even many more hours per week without paying

overtime wages.

        30.     Defendant, through its managers, encouraged and pressured Plaintiff

and those similarly situated to work as many hours as necessary to meet sales

production numbers and any employees.
                                               Page 6 of 19

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          Case 1:17-cv-01324-WSD Document 1 Filed 04/13/17 Page 7 of 19



        31.     Managers also applied pressure to push Plaintiff and the sales

representatives to work extra hours because their bonuses/commissions also

depended upon the sales representatives’ sales and gallons used.

        32.     Upon information and belief, Managers edited off overtime hours even

if sales representatives tracked the time in Dayforce.

        33.     The Dayforce system was rampant with problems and issues, and sales

representatives complained that time was missing or lost, or not properly recorded.

        34.     Defendant at one time also attempted to use some electronic system

for recording hours, but that system failed.

        35.     During one short period of time, Defendant did instruct employees

against working overtime and even represented that they would pay overtime

wages, but very quickly it was “business as usual”, and Plaintiff and many other

sales reps continued working overtime hours without being paid, while they were

simultaneously and continually warned about not hitting numbers and quotas no

matter how many hours it took.

        36.     Plaintiff Hill at one time reported the overtime hours on time sheets,

but was instructed that this was not permissible, and told there was “no overtime

hours” permitted.

        37.     However, Defendant was all too pleased to have Plaintiff and all other

sales representatives work as many hours as they can, essentially “off the clock”,
                                               Page 7 of 19

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          Case 1:17-cv-01324-WSD Document 1 Filed 04/13/17 Page 8 of 19



or as it was prior to Dayforce, off the time sheets.

        38.      Plaintiff was advised by management that the company does not pay

overtime hours, and any extra time is on them or “off the clock”. Thus, Plaintiff,

and all other sales reps, found no reason to even attempt to record the overtime

hours, as it was made absolutely clear to them, overtime hours would not be paid,

and attempting to input or put down overtime hours was against policy. Time sheets

simply stated: 8:00 a.m. to 5:00 p.m., with one (1) hour for lunch, but no actual

times arriving, breaking or leaving for the day.

        39.     Eventually Plaintiff, as well as others, simply were discouraged

against making any complaints of not being paid overtime wages in order to keep

their jobs, as it was made clear to them by management that the company policy

was that it did not pay overtime hours, and Plaintiff and other sales representatives

were more concerned with keeping their jobs and making their commissions than

in making waves and complaints about overtime hours, which they saw as futile.

        40.     After the Miller v. Fleetcor case was filed in 2014, Defendant still did

not immediately institute any actual time tracking system, commence with paying

overtime wages and continued with its de facto policy of people working off the

clock or off the time sheets without pay.

        41.     Defendants made it clear to Plaintiff and all other sales representatives

that production, sales and hitting matrix goals of phone calls were the prime
                                               Page 8 of 19

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          Case 1:17-cv-01324-WSD Document 1 Filed 04/13/17 Page 9 of 19



objective and that they were to work as many hours as necessary to meet these goals

and numbers or they would be terminated as employees.

        42.     This also became a second, serious problem of unpaid overtime hours,

as Plaintiff all found it necessary in order to service their customers, to respond to

telephone calls and emails, after business hours, in the evenings, and on weekends.

        43.     Plaintiff’s managers knew that a great many of the inside sales

representatives were all working “on call”, by taking phone calls on their cell

phones after 5:00 p.m., outside of the office on nights and on weekends.

        44.     The Company never addressed the on call times.

        45.     Even after the Complaint and Collective Action of Miller v. Fleetcor

was made well known to the Defendant and numerous employees, Defendant

continued up to the present to permit, encourage and pressure inside sales

representatives to work over forty (40) hours without any premium paid for the

wages.

        46.     During the entire time Plaintiff and those similarly situated worked for

Defendant, Defendant knew that the inside sales representatives were working

overtime and also working off the clock, and that many as well were taking phone

calls from customers, and answering emails after 5:00 p.m. and on weekends in

order to service the customers.

        47.     Defendant’s managers readily observed Plaintiff and those similarly
                                               Page 9 of 19

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         Case 1:17-cv-01324-WSD Document 1 Filed 04/13/17 Page 10 of 19



situated working overtime within the offices of Defendant, and were aware of

customers calling sales reps and sales reps calling customers after 5:00 p.m. or on

weekends.

        48.     Plaintiff and all similarly situated inside sales representatives,

accessed electronic and computer systems, telephone, and e-mails, which would, if

produced, help reflect the true hours that they worked.

        49.     However, Defendant did not accurately record the hours of these non-

exempt employees.

        50.     At all times material to this Complaint, Defendant willfully failed to

compensate Plaintiff and all similarly situated inside sales representatives for all

overtime hours worked.

        51.     Even when Defendant knew that it was violating the FLSA and not

tracking the work hours, and that sales reps had and continued to work overtime

without being paid, and despite the filing of Miller v. Fleetcor, Defendant not only

did not pay overtime wages when owed, but never took any affirmative action to

pay Plaintiff or others who did not participate in the lawsuit their overtime hours.

        52.     Defendant also faced three prior collective actions with substantially

similar claims in the United States District Court for the Northern District of

Georgia: Miller v. FleetCor Technologies Operating Company, Case No.: 1:13-

CV-2403 (settled); Mintchev et al v. Fleetcor Technologies Operating Company,
                                               Page 10 of 19

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         Case 1:17-cv-01324-WSD Document 1 Filed 04/13/17 Page 11 of 19



Case No.: 1:15-cv-03586, and the current case of Jones and Bridgeforth v. Fleetcor,

Case No.: 1:16-cv-01092-TCB.

        53.     Defendant well understand that the inside sales representatives they

employ do not meet or satisfy any exemption under the FLSA.

        54.     The Miller Court has already heard and denied Defendant’s motion for

decertification.

        55.     Plaintiff is not part of the collective action cases herein referenced.

        56.     Defendant has never changed its pay practices to bring it within

compliance of the FLSA, and continued to turn                          blind eye and intentional

indifference to employees working off the clock, permit their hours to be shaved or

edited, and never took affirmative action discipline employees who worked through

lunches, or after 5:00 p.m.

        57.     Further, Defendant has maintained the policy for years that it simply

refuses to pay for the phone calls, on call time and work performed by sales

representatives including Plaintiff, despite a necessity to service the customers.

                       COLLECTIVE ACTION ALLEGATIONS

        58.     Plaintiff is aware that there are others, similarly situated to him, who

were denied overtime wages and who were compensated fully as part of any prior

filed collective action case, and who seek to join this action.

        59.     Upon information and belief, the class size during the relevant class
                                               Page 11 of 19

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         Case 1:17-cv-01324-WSD Document 1 Filed 04/13/17 Page 12 of 19



period is upwards of 900 employees, just in the Georgia offices, counting turnover

during the past three (3) years.

        60.     Defendant housed fuel card inside sales representatives during some

time in the past three years at both the Atlanta and Norcross office.

        61.     Upon information and belief, a significant percentage of present and

former inside sales representatives opted in and claimed their wages in the Miller

v. Fleetcor case, which was ultimately settled by Defendant on or about April 2016.

Thus Defendant is well aware of similar claims by a great percentage of all

employees who have worked from 2011 to the present, and has only sought to pay

those who participate in the lawsuits.

        62.     Other present and former inside sales representatives likewise made

similar claims against Defendant in the case of Mintchev and Sellers v. Fleetcor,

Case No.: 1:15-CV-03586-LMM which was also settled in 2016.

        63.     Despite Fleetcor being alerted of the FLSA claims of Keith Miller, and

all the Opt-In Plaintiffs in that case back in 2014, and then the claims of Mintchev

and Sellers and many other, Defendant continued to engage in willful violations of

the FLSA and common unlawful pay practices, particularly, not compensating

inside sales representatives for all overtime hours worked.

        64.     Plaintiffs, and all other similarly situated inside sales representatives

handle either inbound or outbound calls to sell gas or fuel cards to businesses.
                                               Page 12 of 19

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         Case 1:17-cv-01324-WSD Document 1 Filed 04/13/17 Page 13 of 19



        65.     Inside sales representatives do not supervise two or more full time

employees and thus cannot meet the Executive Exemption.

        66.     Inside sales representatives’ primary job duties do not involve the

exercise of independent discretion and judgment in matters of significance, they are

in the production aspect of Defendant’s’ business, selling its products and following

scripts. Thus, they cannot meet the Administrative Exemption.

        67.     Defendant know now, and have known for the past three (3) years that

inside sales representatives do not meet or satisfy any exemption under the FLSA

and are entitled to overtime wages or a premium for all hours worked.

        68.     Plaintiffs are micro managed and highly scrutinized on a daily and

weekly basis with very little room if at all in deviating from strict regulated manners

in which to perform their job duties and responsibilities.

        69.     Inside sales representatives do not have decision making authority.

        70.     Plaintiff and all inside sales representatives work in a very high

pressured, boiler room type environment.

        71.     Defendant was made aware by Plaintiff and other inside sales

representatives of glitches and problems with the Dayforce time system, which has

continued from the commencement by Fleetcor through the present, leading to

underpayment of wages.

        72.     Upon information and belief, Defendant also edited and shaved time
                                               Page 13 of 19

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         Case 1:17-cv-01324-WSD Document 1 Filed 04/13/17 Page 14 of 19



from the inside sales reps hours even if overtime hours were logged into Dayforce.

        73.     Regardless, many sales reps were forced to simply log off at 5:00 p.m.,

and continue to work off the clock under its De Facto Policy.

        74.     Inside sales representatives have had instances in which they could not

log in when they started work, and had to wait for someone to figure out the

problem, and on some occasions, inside sales representatives have reported that on

one or more days, their login and logout times were missing from Dayforce despite

the employees working on those days.

        75.     As a result of these pervasive and routine errors, Plaintiff and all others

similarly situated were not paid for all hours worked on some occasions.

        76.     Upon information and belief, even after Dayforce was commenced by

Fleetcor as a time tracking system, the date of which is uncertain, it was not

uniformly required and monitored or enforced until 2017.

        77.     Moreover, even after Dayforce was instituted as a system to track and

record work times of inside sales representatives, inside sales representatives were

still permitted, allowed and even encouraged to continue to work overtime as long

as they were logged off.

        78.     Throughout most if not all of the time Fleetcor commenced with

Dayforce, at no time did Defendant require inside sales representatives, including

Plaintiff to go home or leave their jobs and desks at 5:00 p.m.
                                               Page 14 of 19

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         Case 1:17-cv-01324-WSD Document 1 Filed 04/13/17 Page 15 of 19



        79.     Managers would leave and even tell inside sales representative only to

log off at 5:00 p.m., but never instruct inside sales representatives to cease working

at 5:00 p.m.

        80.     Upon information and belief, inside sales representatives, were still

permitted to and did log off Dayforce and continue to work “off the clock” at their

desks past 5:00 p.m. with the knowledge of Defendant, and without be subjected to

disciplinary action.

        81.     Similarly, Defendant has continued to permit, allow and acquiesce

throughout the relevant time period, inside sales representatives to work during

some of their lunch periods without being paid for all the time.

        82.     Upon information and belief, inside sales representatives would be

encouraged to work through some of the standard one hour lunch break by

managers, and after they logged back into Dayforce, Defendant then would edit the

time to reflect a one hour break.

        83.     Prior to Dayforce, Defendant willfully failed and refused to institute

systems, procedures and mechanisms to accurately and actually track and record

the work hours.

        84.     Plaintiff bring this suit on behalf of themselves and all others similarly

situated and propose the following collective description:

                All persons who perform(ed) work for Defendant as an
                                               Page 15 of 19

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         Case 1:17-cv-01324-WSD Document 1 Filed 04/13/17 Page 16 of 19



                inside sales representatives handling outbound or inbound
                calls at any of its Georgia offices in the United States,
                including Atlanta, and Norcross under any title, such as
                Account Manager, Territory Manager, Account
                Executive, Consultant, sales representative at an time
                within the period of (3) years prior to the filing of this
                Complaint or who are currently employed by Defendant.

                           COUNT I
         VIOLATION OF THE FAIR LABOR STANDARDS ACT

        85.     Plaintiff re-alleges and incorporates by reference all above paragraphs

as if fully set forth herein.

        86.     The FLSA requires employers to pay employees wages at a rate no

less than one-and-a-half times their regular hourly rate of pay for all hours worked

in excess of forty (40) hours in individual work weeks. 19 U.S.C. § 207.

        87.     Defendant is an “employer” of Plaintiff and those similarly situated

within the meaning of the FLSA.

        88.     Defendant is an “enterprise” as defined by the FLSA and engaged in

interstate commerce.

        89.     Plaintiff and those similarly situated worked more than forty (40)

hours in the workweeks going back three (3) years from the filing of this Complaint

and did not receive overtime compensation for all of the overtime hours worked.

        90.     Plaintiff and those similarly situated are not exempt employees under

the FLSA or other Federal rules and regulations.

                                               Page 16 of 19

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         Case 1:17-cv-01324-WSD Document 1 Filed 04/13/17 Page 17 of 19



        91.     Defendant has willfully violated the FLSA and is liable for wages for

a three (3) year period of time preceding the filing of this complaint. Defendant

has known for the past three (3) years that the inside sales representatives were non-

exempt employees, and continued refuse to compensate Plaintiff and the class of

similarly situated for overtime hours worked.

        92.     Defendant did not make a good faith effort to comply with the FLSA

and owes Plaintiff and those similarly situated liquidated damages and an equal

sum of all wages owed.

        93.     Defendant knew that Plaintiff and those similarly situated were

working overtime hours and willfully refused to pay Plaintiff and all similarly

situated inside sales representatives, overtime pay at one and a half time their

regular rate of pay for all overtime hours worked.

        94.     Defendant also has failed to pay overtime at the proper rate of one and

one half time the employees’ regular rate of pay including the value of all

commissions and bonuses earned.

        95.     Defendant has willfully violated the record keeping provision of the

FLSA, 29 CFR 516.2, which mandates that an Employer record and track the hours

of non-exempt employees.

        96.     Because of these unlawful pay practices, which have continued in the

past three years up through the present, Plaintiff and those similarly situated have
                                               Page 17 of 19

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         Case 1:17-cv-01324-WSD Document 1 Filed 04/13/17 Page 18 of 19



suffered lost wages and damages.

          WHEREFORE, Plaintiff and those similarly situated request from this

 Court:

                a.       Enter an Order certifying this as a collective action;

                b.       Appoint the Plaintiff as class representative;

                c.       Appoint the undersigned as attorney of record for the collective

                         class;

                d.       Authorize the issuance of a notice to all similarly situated former

                         and current inside sales representatives of Defendant that apprise

                         the putative class and notify them of the pendency of this action

                         and provides them with the opportunity to assert timely FLSA

                         claims by the filing of individual consent to join forms;

                e.       Enter Judgment finding that Plaintiff and those similarly situated

                         are entitled to overtime pay at one and a half times their regular

                         rate;

                f.       Enter Judgement against the Defendant finding they violated the

                         FLSA;

                g.       Enter Judgement against the Defendant finding they acted

                         willfully and in bad faith and declare the three years statute of

                         limitations applicable;
                                               Page 18 of 19

Mitchell L. Feldman, Esq., P.A. | 1201 Peachtree Street | Colony Square | Suite 200 | Atlanta | GA | 30361 |
                                   P: (813) 639-9366 | F: (813) 639-9376
         Case 1:17-cv-01324-WSD Document 1 Filed 04/13/17 Page 19 of 19



                h.       Award monetary damages for unpaid wages;

                i.       Award monetary damages for liquidated damages under the

                         FLSA;

                j.       Award Plaintiff a service award fee;

                k.       Award reasonable attorneys’ fees, costs, and expenses; and

                l.       Award such other equitable or legal relief the Court should deem

                         necessary and just including the entry of an Injunction barring

                         the Defendant from continuing to violate the FLSA by failing to

                         pay overtime wages to inside sales representatives.


                                                 Respectfully submitted,

                                                 /s/ Mitchell L. Feldman, Esq.
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                                               Page 19 of 19

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